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                         EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SEARS AUTHORIZED HOMETOWN                      )
STORES,LLC,                                    )
                                               )
                        Plaintiff,             )
                                               )      Case No. 1: 19-cv-3403
V.                                             )
                                               )      Honorable Sharon Johnson Coleman
NATIONWIDE MARKETING GROUP,                    )
LLC,                                           )
                                               )
                        Defendant.             )


                                   DECLARATION OF R. KEITH BAGBY

         I, R. Keith Bagby, declare pursuant to 28 U.S.C. § 1746:

         I.     I am an adult resident of the State of North Carolina. I am authorized to give this

Declaration and do so based on my personal knowledge.

        2.      I am the Chief Financial Officer of Nationwide Marketing Group, LLC

("Nationwide") and have been employed by Nationwide since September 25, 2017.

        3.      Nationwide is a North Carolina limited liability company w ith its principal place of

business at 110 Oakwood Drive, Suite 200, Winston Salem, North Carolina.

        4.      Nationwide is not registered with the Illinois Secretary of State to conduct business

in Illinois.

        5.      Nationwide does not maintain an office, own property, or have a mailing address

in Illinois.

        6.      Nationwide's management and records are located in North Carolina. No such

records are located in Illinois.
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       7.      In 201 9, no then-current or former Illino is dealer for Sears A uthorized Hometown

Stores, LLC joined the Nationwide network or became a Nationw ide member.




       I declare under penalty of perjury that the forego ing is true and accurate.




                                                e~
Executed on: Julyl8, 20 19.



                                                     C hief Financial Officer,
                                                     Nationwide Marketing Group




                                                 2
